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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Newport News Division

UNITED STATES OF AMERICA


V.                                                                          Criminal No.4:18cr32


CHARLES A. COOKE


                                          OPINION & ORDER


        This matter comes before the Court on Defendant Charles A. Cooke ("Defendant's" or

"Mr. Cooke's")appeal from Magistrate Judge Miller's finding that he is GUILTY ofCount One of

a one-count Criminal Information, which charged him with:

        Count One: Brandishing a Firearm, in violation of 18 U.S.C. §§ 7, 13 assimilating Va.
        Code. § 18.2-282.

Doc. 1 (Information); Doc. 18 (Amended Judgment). For the reasons stated herein, the Court

AFFIRMS the judgment ofthe Magistrate Judge.

                                         I.       BACKGROUND


A.      Facts*

        On the morning of October 14, 2017, Sergeant Tiffany Cooke ("Sgt. Cooke") was at her

home located on Fort Eustis at 134C 25th Street. Doc. 20("Trial Tr.") at 7-9. At the time, Sgt.

Cooke and the defendant, Charles A. Cooke ("Mr. Cooke"), were married, but had recently

separated. Trial Tr. 14-15, 25-26. Mr. Cooke was no longer living at the home, but retained a

key to the residence. Trial Tr. 25-26. At approximately 1:00 a.m. that morning, Mr. Cooke came

to the house and went into Sgt. Cooke's bedroom. Trial Tr. at 9. Sgt. Cooke testified that Mr.


1 The following facts were obtained from the recorded testimony ofthe Government's sole witness, Sergeant Tiffany
Cooke, at the bench trial before Magistrate Judge Miller on April 9, 2018.   Doc. 20.
                                                       1
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Cooke "wanted to talk...about an incident that occuired that Monday."                      Id     On

cross-examination, Sgt. Cooke indicated that during their conversation, she and Mr. Cooke were

arguing, and that their voices were raised slightly. Trial Tr. 16.

       After the two talked for a little bit, Sgt. Cooke testified that she felt uncomfortable, so she

asked Mr. Cooke to leave. Trial Tr. at 9. When she did so, Sgt. Cooke indicated that Mr. Cooke

told her that he was waiting on a ride, so Sgt. Cooke asked him to wait downstairs. Id Mr.

Cooke initially left the room, but then came back upstairs. Id When Sgt. Cooke asked Mr.

Cooke to leave again, Mr. Cooke declined. Id Sgt. Cooke testified that she got up to go

downstairs, and then "[Mr. Cooke] stepped in front of me and asked me where I was going, and

then he pulled a gun out and pointed in my face." Trial Tr. 10. When asked how she felt when

the Mr. Cooke pointed the gun in her face, Sgt. Cooke testified that she was scared. Id Sgt.

Cooke also stated that Mr. Cooke told her that he would shoot her. Id

       Sgt. Cooke testified that Mr. Cooke put the gun down when six-year-old daughter came

and knocked on the door. Id; Trial Tr. 11. When Sgt. Cooke's six-year-old daughter came to the

door, Mr. Cooke put the gun away and went downstairs. Trial Tr. 11. After Mr. Cooke went

downstairs, Sgt. Cooke testified that she stayed in bed with her daughter and waited "30, 45

minutes" or "20 or 30 minutes" before going downstairs, because she was scared. Trial Tr. 11,

21. On re-direct, Sgt. Cooke described the firearm as a "black and silver...handgun." Trial. Tr.

25.


B.     Procedural History

       On January 2, 2018, the Government filed a one count Criminal Information charging

Defendant with: Brandishing a Firearm in violation of Title 18, United States Code, Sections 7 &
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18, assimilating Code of Virginia Section 18.2-282. Doc. 1. On January 29, 2018, Defendant

made his initial appearance before Magistrate Judge Douglass E. Miller. Doc. 4. The Court

GRANTED Defendant's request for court-appointed counsel and the matter was continued until

March 12, 2018 for trial. Id. On March 12, 2018, Defendant appeared with counsel and

requested a continuance.      Doc. 10.     The Court GRANTED Defendant's request for a

continuance, and continued the matter until April 9, 2018. Id.

       On April 9, 2018, Defendant consented to a bench trial before Magistrate Judge Miller.

Docs. 12, 14. At the close of the Government's evidence, Defendant made a Motion for

Judgment of Acquittal, which the Court DENIED.            Doc. 12.    The parties made closing

arguments, and Defendant renewed his Motion for Judgment of Acquittal, and the Court again

DENIED Defendant's motion. Id The Court then found Defendant GUILTY on Count 1, and

sentenced defendant to four months jail, a special assessment of $25, and a period of supervised

release following imprisonment of twelve months. Doc. 16.

       On April 11, 2018, Defendant filed his notice of appeal. Doc. 17. He filed the transcript

with this Court on May 11, 2018. Doc. 20. On May 21, 2018, the Court entered a scheduling

Order for briefing. Doc. 21. Defendant filed his brief on June 29, 2018. Doc. 22. The

Government filed its brief on July 11, 2018. Doc. 23.

                                 II.     LEGAL STANDARD


       "In all cases of conviction by a United States magistrate judge an appeal of right shall lie

from thejudgment ofthe magistrate judge to ajudge ofthe district court ofthe district in which the

offense was committed." 18 U.S.C. § 3402; see also Fed. R. Crim. P. 58(g)(2)(B).
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         "The scope ofthe appeal is the same as in an appeal to the court ofappeals from ajudgment

entered by a district judge." Fed. R. Crim. P. 58(g)(2)(D). Accordingly, when a defendant

challenges the sufficiency of the evidence, the district court must view the evidence "in the light

most favorable to the Government." United States v. Bursev. 416 F.3d 301, 306 (4th Cir. 2005)

(citing United States v. Pasquantino. 336 F.3d 321, 332 (4th Cir.2003)(en banc)). Findings of

fact are reviewed for clear error, and conclusions of law are reviewed de novo. Id (citing United

States V. Leftenant. 341 F.3d 338, 342-43 (4th Cir. 2003)).

         Substantial evidence supports the verdict if there is "evidence that a reasonable finder of

fact could accept as adequate and sufficient to support a conclusion ofa defendant's guilt beyond a

reasonable doubt." Tait v. United States. 763 F. Supp. 2d 786,790(E.D. Va. 2011). The district

court may not overturn a substantially supported verdict based upon a determination that the

verdict is unpalatable or that "another, reasonable verdict would be preferable." United States v.

Beidler. 110 F.3d 1064, 1067(4th Cir. 1997)(quoting United States v. Burgos. 94 F.3d 849, 862

(4th Cir. 1996)(en banc)). Furthermore, the Court must consider both circumstantial and direct

evidence and "allow the government the benefit of all reasonable inferences from the facts proven

to those sought to be established." United States v. Tresvant. 677 F.2d 1018, 1021 (4th Cir.

1982).

                                        III.    ANALYSIS


         In order to prove that a person is guilty of brandishing a firearm in violation of 18 U.S.C.

§§7, 13 assimilating Va. Code § 18.2-282, the Government must prove the following elements

beyond a reasonable doubt:(1)that the defendant pointed, held, or brandished a firearm; and (2)

that he did so in such a manner as to reasonably induce fear in the mind of another of being shot or
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injured. Va. Code Ann. § 18.2-282 (2018); see also United States v. Lee. 316 F. Supp. 2d 355,

363(E.D. Va. 2004).

       The Magistrate Court took into consideration the fact that Sgt. Cooke was "awakened out

of her bed at 1:00 in the morning with a husband who she was in the process of divorcing" and

inferred that Defendant had no business being at Sgt. Cooke's home at that time for any purpose.

Trial Tr. at 38. Based on those facts, the Magistrate Court found Sgt. Cooke's testimony credible;

that Sgt. Cooke was awakened,that an argument ensued, and that Defendant pointed a gun in her

face, "which any reasonable person at 1:00 in the morning in their home being confronted by

someone with a gun and a threat that they were going to shoot them in the head would induce a

reasonable fear." Id


       Defendant makes two arguments that the Government failed to sufficiently prove its case

beyond reasonable doubt. First, Defendant argues that the Government failed to provide sufficient

evidence that Mr. Cooke "pointed, held, or brandished a firearm" beyond reasonable doubt, or that

a firearm or Mr. Cooke himself was present the night that the incident occurred. Doc.22 at 5. In

support of his argument. Defendant contends that the Government's only evidence, the testimony

of Sgt. Cooke, lacked credibility as it was uncorroborated because the Government failed to

produce evidence that the police found the firearm or that anyone besides Sgt. Cooke saw

Defendant that night. Id And, Defendant argues that the Government's witness testified

inconstantly regarding material facts of the case. Id at 6.

       Second, Defendant argues that the Government produced insufficient evidence to establish

the element that Mr. Cooke's act of brandishing a firearm "reasonably induced fear or

apprehension of bodily harm in the mind of Sgt. Cooke." Id In support of this argument.
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Defendant points to the fact that Sgt. Cooke waited between 20 and 45 minutes before calling the

police or texting for help, even though her cell phone was in her bedroom. Id Defendant

contends that this fact calls Sgt. Cooke's credibility into question. Id.

        Additionally, Defendant argues that the Magistrate Court wrongfully relied on the fact that

"[Sgt. Cooke] was awakened out of her bed at 1:00 in the morning with a husband who she was in

the process of divorcing" when the fact that she "was awakened" was not in evidence. Id.

       The Government contends that it met the first element, as Sgt. Cooke identified Defendant

in court, successfully testified that he had a weapon, and even went so far as to describe the

weapon as a black and silver handgun. Doc. 23 at 5. The Government also avers that second

element was met because Sgt. Cooke explained that she waited because she was "scared to go

downstairs." Id The Government further argues that the consistencies pointed out by Defendant

are immaterial and ancillary issues. Id And, the Government maintains that the magistrate

judge's reasoning is supported notwithstanding the fact that the magistrate judge believed that Sgt.

Cooke was "awakened" because it was supported by the fact that Sgt. Cooke was confronted by

defendant with a gun and threatened that he would shoot her in the head. Id. at 6.

       The Court FINDS that the Magistrate Court's decision is supported by sufficient evidence

in the record. The inconsistencies pointed out by Defendant are immaterial and, notwithstanding

the fact that the Magistrate Court stated that Sgt. Cooke was awakened,the Magistrate Court based

its decision on the credibility of Sgt. Cooke's testimony that Defendant arrived at 1:00 in the

morning, pointed a gun in her face, and told her that he would shoot her in the head, which would

cause apprehension within any reasonable person.

                                     IV.     CONCLUSION
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          For the reasons stated above, the Court AFFIRMS the judgment ofthe Magistrate Judge.

          The Clerk is REQUESTED to send a copy of this Opinion & Order to all counsel of

record.


          It is so ORDERED.
                                                      Heniy Coke Morgan, Jr.
                                                      Senior United Slates District Juda

                                                     HENRY COKE MORGAN,JR.
                                                SENIOR UNITED STATES DISTRICT JUDGE

Norfolk, Virginia
September         ,2018
